       Case 8:24-ap-01105-SC                         Doc 4-2 Filed 08/10/24 Entered 08/12/24 17:41:51                                      Desc
                                                      Cover Sheet Flat Page 1 of 2
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
                                                                                2ND CHANCE INVESTMENT GROUP LLC; RAYSHWAN ANDREW
CLOTEE DOWNING
                                                                                FOSTER a.k.a. RAYSHAWN FOSTER a.k.a. RAYSHON FOSTER
                                                                                a.k.a. RAYSHON BOYD; SONJA FOSTER a.k.a. SONJA KIRK a.k.a.
                                                                                SONIA PEREZ; DAVID M. GOODRICH; DOES 1 – 100
ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Geoff Trapp
2551 East Avenue S, Suite G-166, Palmdale, CA 93550
(661) 214-4412

PARTY (Check One Box Only)                           PARTY (Check One Box Only)
□ Debtor      □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor    □ Other                                □ Creditor    □ Other
□ Trustee                                            □ Trustee
 1)
CAUSE   OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 REVOCATION OF ORDER CONFIRMING CHAPTER 11 PLAN PURSUANT TO 11 U.S.C. § 1144




                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
□ 11-Recovery of money/property - §542 turnover of property                     □  61-Dischargeability - §523(a)(5), domestic support
□ 12-Recovery of money/property - §547 preference                               □  68-Dischargeability - §523(a)(6), willful and malicious injury
□ 13-Recovery of money/property - §548 fraudulent transfer                      □  63-Dischargeability - §523(a)(8), student loan
□ 14-Recovery of money/property - other                                         □  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
□ 21-Validity, priority or extent of lien or other interest in property         □  65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property                                 □  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)       □  72-Injunctive relief – other

    FRBP 7001(4) – Objection/Revocation of Discharge
□ 41-Objection / revocation of discharge - §727(c),(d),(e)                      FRBP 7001(8) Subordination of Claim or Interest
                                                                                □ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
□ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                □ 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                              □
□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

      actual fraud                                                            Other
□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
       Case 8:24-ap-01105-SC                  Doc 4-2 Filed 08/10/24 Entered 08/12/24 17:41:51                                       Desc
                                               Cover Sheet Flat Page 2 of 2
  B1040 (FORM 1040) (12/15)

                      BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                                            BANKRUPTCY CASE NO.
 2nd Chance Investment Group LLC                                          8:22-bk-12142-SC


DISTRICT IN WHICH CASE IS PENDING Los Angeles                             DIVISION OFFICE                      NAME OF JUDGE
                                                                           Santa Ana                            Scott C. Clarkson


                                        R E L AT E D A D V E R S A R Y P R O C E E D I N G H P A N Y )
PLAINTIFF                                                DEFENDANT                                             ADVERSARY
                                                                                                               PROCEEDING NO.



DISTRICT IN WHICH ADVERSARY IS PENDING                                    DIVISION OFFICE                      NAME OF JUDGE



SIGNATURE OF ATTORNEY (OR PLAINTIFF)

                       (J




D A T E                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)

 8/9/2024                                                                   Geoff Trapp, Conservator of Estate for Clotee Do\«ning




                                                            INSTRUCTIONS


            Thefilingofabankruptcycasecreatesan“estate”underthejurisdictionofthebankruptcycourtwhichconsistsof
  allofthepropertyofthedebtor,whereverthatpropertyislocated.Becausethebankruptcyestateissoextensiveandthe
  Jurisdictionofthecourtsobroad,theremaybelawsuitsoverthepropertyorpropertyrightsoftheestate.Therealsomaybe
  lawsuits concerning the debtor’s discharge. If such alawsuit is filed in abankruptcy court, it is called an adversary
  proceeding.

          ApartyfilinganadversaryproceedingmustalsomustcompleteandfileForm1040,theAdversaryProceeding
  CoverSheet,unlessthepartyfilestheadversaryproceedingelectronicallythroughthecourt’sCaseManagement/Electronic
  CaseFilingsystem(CM/ECF).(CM/ECFcapturestheinformationonForm1040aspartofthefilingprocess.)When
  completed,thecoversheetsummarizesbasicinformationontheadversaryproceeding.Theclerkofcourtneedsthe
  information to process the adversary proceeding and prepare required statistical reports on court activity.

            The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  orotherpapersasrequiredbylaw,theBankruptcyRules,orthelocalrulesofcourt.Thecoversheet,whichislargelyself-
  explanatory, must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). Aseparate cover sheet must be submitted to the clerk for each complaint filed.
  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

   Party.Checkthemostappropriateboxinthefirstcolumnfortheplaintiffsandthesecondcolumnforthedefendants.
   Demand. Enter the dollar amount being demanded in the complaint.

   Signature.Thiscoversheetmustbesignedbytheattorneyofrecordintheboxonthesecondpageoftheform.Ifthe
   plaintiff is represented by alaw firm, amember of the firm must sign. If the plaintiff is pro se, that is, not represented by an
   attorney, the plaintiff must sign.
